Case 1:19-cv-00468-CG-B Document 27 Filed 10/24/19 Page 1 of 14                   PageID #: 144




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

BLAKE MARINE GROUP, LLC                          §
                                                 §
       Plaintiff,                                §
v.                                               §          Civil Action No. 19-468
                                                 §
EPIC ALABAMA RECYCLERS, LLC,                     §          In Admiralty
In personam, and the                             §          In Personam
NOBLE AMOS RUNNER,                               §          In Rem
Her engines, tackle, furniture,                  §
Equipment, appurtenances, etc., in rem,          §
                                                 §
       Defendants.                               §

                BLAKE MARINE GROUP, LLC’S OPPOSITION
     TO EPIC ALABAMA RECYCLERS, LLC’S MOTION TO DISMISS ARREST

       Plaintiff, Blake Marine Group, LLC (“Blake”), submits this opposition to the Motion to

Dismiss Arrest filed by Defendant, EPIC Alabama Recyclers, LLC (“EPIC”). (R. Doc. 23). EPIC

has moved to dismiss arrest pursuant to Fed. R. Civ. P. 12(b)(1) on the grounds that the NOBLE

AMOS RUNNER (“AMOS RUNNER”) is allegedly not a “vessel” and therefore is not subject to

a maritime lien under 46 U.S.C. § 31301, et seq. (R. Doc. 23-1). As is more fully discussed below,

the AMOS RUNNER is a vessel subject to a maritime lien. Accordingly, this Court has federal

subject matter jurisdiction over this case, and EPIC’s Motion must be denied.

I.     INTRODUCTION

       The central issue is whether the AMOS RUNNER is a “vessel” pursuant to General

Maritime Law.

       This case involves unpaid charges owed to Blake arising from its provision of

transportation services related to the AMOS RUNNER, a mobile semi-submersible oil rig

(MODU) owned by EPIC. These services were provided in connection with the 450 nautical-mile
Case 1:19-cv-00468-CG-B Document 27 Filed 10/24/19 Page 2 of 14                      PageID #: 145




movement of the rig to EPIC’s shipyard in Mobile, Alabama. Blake initiated the current

proceeding against the AMOS RUNNER in rem, and EPIC in personam, as a consequence of

EPIC’s failure to pay Blake $841,761.51, representing charges for the services Blake provided.

(R. Doc. 1, ¶ VII). Despite acknowledging its indebtedness and even committing to payment of

same, EPIC has refused to honor its obligations. (Id., ¶ VIII).

          Built in 1982, the AMOS RUNNER was originally constructed as a submersible suitable

for shallow water. It was subsequently converted to a MODU in 1999, configured with typical

MODU capabilities, such as those necessary for offshore drilling operations, housing a range of

various personnel, and the transportation of drilling equipment and members of her crew. Her

design includes 27 ballast tanks to enable her ability to float. The ballasting system remains

operational such that she can be refloated and moved.

          Starting around January 2019, EPIC and Blake entered into various contracts with one

another ultimately culminating in a 450 nautical-mile “wet tow”1 of the AMOS RUNNER from

its offshore stacked location in the West Cameron area of the Gulf of Mexico to Mobile, Alabama.

          Blake played a substantial role in coordinating the logistics of this voyage and provided

numerous services to the AMOS RUNNER, including:

                  1.     Food for crew members;

                  2.     Fuel;

                  3.     Towing equipment;

                  4.     Repairs and labor material; and

                  5.     Supplies and furnishings needed to deballast and refloat the vessel for

                         transportation via towage to EPIC’s yard in Mobile, Alabama.



1
    Meaning the rig was floating on its own hull while being pulled.
                                                   2
Case 1:19-cv-00468-CG-B Document 27 Filed 10/24/19 Page 3 of 14                     PageID #: 146




 (Id., ¶¶ VII, XIV).

        The allegations in EPIC’s Motion to Dismiss concerning these services, as well its

portrayal of the physical characteristics of the AMOS RUNNER, are embellished with

inaccuracies. For example, EPIC maintains that the AMOS RUNNER “has no operational

equipment, no propulsion, and no ability to self-generate power. All power to the AMOS

RUNNER during transit to the scrap yard was to be provided by portable generators….the AMOS

RUNNER had no operating galley to prepare food, the fuel onboard has spoiled, and no fresh water

was stored onboard for drinking, cooking, showering, or otherwise maintaining a crew.” (Doc 23-

1, p. 13). These statements are untrue.

        The AMOS RUNNER’s equipment was not impaired while it was stacked in its offshore

location, nor was it impaired during or after the voyage. (“Affidavit of Eli Zatezalo”, Exhibit A).

For example, its operational navigation equipment remained onboard at all times. Id. at ¶ 6. The

AMOS RUNNER had the ability to self-generate power, as both sets of the main generator and

emergency generator were operational at all times. Id. at ¶ 10. In fact, the latter was utilized to

provide basic power throughout the rig and to transfer onboard fuel, which EPIC incorrectly

characterizes as “spoiled,” from pontoon tank no. 6 to the day tank for daily consumption. Id. at ¶

12.

        As previously mentioned, Blake provided direct air transportation for crew members of the

AMOS RUNNER. Id. at ¶ 11. This “riding crew” remained onboard for the entirety of the tow to

Alabama. Id. No EPIC employee was onboard the AMOS RUNNER while it was in the process

of being refloated, nor was any EPIC employee onboard at any time during the tow. Id. at ¶ 9. In

further contradiction of EPIC’s assertions, the AMOS RUNNER did in fact have an operating

galley. The riding crew utilized the galley, including the stove, on a daily basis to prepare meals.



                                                 3
Case 1:19-cv-00468-CG-B Document 27 Filed 10/24/19 Page 4 of 14                       PageID #: 147




Id. at ¶¶ 13, 14. Additionally, the AMOS RUNNER had sufficient potable water onboard for the

riding crew to take daily showers, utilize the toilets and clean cooking supplies. Id. at ¶15.

       Not only were these physical characteristics unimpaired during the voyage, the AMOS

RUNNER remains capable of being deballasted and moved across water. Id. at ¶ 21. This is further

supported by the fact that the AMOS RUNNER is currently being marketed for sale to foreign

buyers, which would require her to be towed once again on water and navigated as a condition of

purchase. Id. at ¶ 24.

       EPIC also describes future events contemplated under the Teaming Agreement and/or sale

agreement. While the contracts referred to by EPIC contemplate the future impairment of the

AMOS RUNNER’s equipment, they do not speak to her status prior to and during the tow, and

they do not speak to her status today.

II.    LAW AND ANALYSIS

       A.      EPIC’s motion concerns a jurisdictional fact that is an essential element of a
               claim of a maritime lien, and should be analyzed on a summary judgment
               standard.

       Vessel status is a prerequisite of Blake’s maritime lien claim against the in rem defendant.

46 U.S.C. § 31342(a)(1); Galehead Inc. v. M/V Angila, 183 F.3d 1242, 1244 (11th Cir. 1999). Not

only does the determination of whether the AMOS RUNNER is a “vessel” present an issue of

jurisdictional fact, it is also an essential element of the merits of Blake’s maritime lien claim. See

Martin v. Fab-Con, Inc., 9 F. Supp. 642, 645-46 (E.D. La. 2014) (treating 12(b)(1) motion based

on vessel status as motion for summary judgment, as vessel status was a salient component of

plaintiff’s case); see also Crimson Yachts v. Betty Lyn II Motor Yacht, 603 F.3d 864 (11th Cir.

2010). Therefore, because the issue under consideration is an attack on the merits of the case, this

Court should analyze the Motion to Dismiss Arrest as a summary judgment. See Lawrence v.



                                                  4
Case 1:19-cv-00468-CG-B Document 27 Filed 10/24/19 Page 5 of 14                      PageID #: 148




Dunbar, 919 F.2d 1525, 1530 (11th Cir. 1990) (“When the jurisdictional basis of a claim is

intertwined with the merits, the district court should apply a Rule 56 summary judgment standard

when ruling on a motion to dismiss which asserts a factual attack on subject matter jurisdiction”).

       The summary judgment standard is well-established: “The court shall grant summary

judgment if the movant shows that there is no genuine issue as to any material fact and the movant

is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56. Each inference from the record is to

be viewed in a light most favorable to the party opposing the motion. Matsushita Elec. Indus. Co.

v. Zenith Radio Corp., 475 U.S. 574 (1986). The movant bears the burden of showing an absence

of genuine issue to any material fact. Fleming v. Clipper Ams., 1997 U.S. Dist. LEXIS 6540, at *5

(S.D. Ala. Apr. 4, 1997). “If reasonable minds could differ on the inferences arising from

undisputed facts, then a court should deny summary judgment.” Miranda v. B & B Cash Grocery

Store, Inc., 975 F.2d 1518, 1534 (11th Cir. 1992).

       B.      Governance of maritime liens.

       “A maritime lien is an interest in maritime property that is enforced in rem under the

exclusive admiralty jurisdiction of the federal courts.” 8 Benedict on Admiralty § 7.01 (2019).

Only admiralty courts, having exclusive jurisdiction over proceedings to enforce maritime liens,

may execute a maritime lien and allow enforcement of same for necessaries. The LOTTAWANNA,

88 U.S. (21 Wall.) 558 (1875). Obtainment of a maritime lien requires that a person satisfy three

elements: (a) provision of necessaries; (b) to a vessel; (c) on the order of the owner or agent.

Galehead, Inc. v. M/V Anglia, 183 F.3d 1242, 1244 (11th Cir. 1999).

       The second prerequisite, “to a vessel” is the center of this present dispute. As the basis for

seeking dismissal, EPIC contests the status of the AMOS RUNNER as a “vessel.” It argues that,

“as a matter of law and fact, the AMOS RUNNER was not a ‘vessel’ for which ‘necessaries’ were



                                                 5
Case 1:19-cv-00468-CG-B Document 27 Filed 10/24/19 Page 6 of 14                     PageID #: 149




provided.” (R. Doc. 23-1, p. 8).

       C.      Vessel status depends on practical capability, not subjective intent.

       The Rules of Construction Act defines the term “vessel” to include “every description of

watercraft or other artificial contrivance used, or capable of being used, as a means of

transportation on water.” 1 U.S.C. § 3. In an early seminal case on vessel status, the Supreme Court

broadly defined vessels as “all navigable structures intended for transportation.” Cope v. Vallette

Dry-Dock Co., 119 U.S. 625, 628 (1887). Over the years, various exotic watercraft were deemed

vessels. One federal court even opined that the scope of the definition was so broad that “three

men [floating] in a tub would also fit our definition, and one probably could make a convincing

case for Jonah inside the whale.” Burks v. Am. River Transp. Co., 679 F.2d 69, 75 (5th Cir. 1982).

       The Supreme Court again visited the definition in 2005. Stewart v. Dutra Constr. Co., 543

U.S. 481 (2005). In discussing the statutory language that a vessel must be “used, or capable of

being used, as a means of transportation on water,” the Court explained this requirement did not

demand that a vessel be used primarily for such purposes. Rather, the determination to be made is

“whether the watercraft’s use as a means of transportation on water is a practical possibility or

merely a theoretical one.” Id., at 496. “[A] watercraft is not ‘capable of being used’ for maritime

transport in any meaningful sense if it has been permanently moored or otherwise rendered

practically incapable of transportation or movement.” Id. at 494 (emphasis added). As to the latter

point, the distinction is sensible because structures would otherwise move in and out of vessel

status even if temporarily moored or anchored. Id.

       In 2013, the Supreme Court offered guidance for admiralty courts concerning “borderline

cases where ‘capacity’ to transport over water is in doubt.” Lozman v. City of Riviera Beach,

Florida, 568 U.S. 115, 129 (2013). The Court addressed vessel status under 1 U.S.C. § 3 to



                                                 6
Case 1:19-cv-00468-CG-B Document 27 Filed 10/24/19 Page 7 of 14                      PageID #: 150




determine whether a floating home was a vessel. After a detailed analysis of the home’s physical

characteristics, the Court decided it was not a vessel. Drawing upon Stewart, the Court ruled that

“a reasonable observer, looking to the home’s physical characteristics and activities, would not

consider it to be designed to any practical degree for carrying people or things on water.” Id. at

118.

       The Court’s recognition of the justification for adopting the reasonable observer standard

in Lozman is especially salient. Justice Breyer affirmed “the need to eliminate the consideration of

evidence of subjective intent.” Id. at 128. “[W]e have sought to avoid subjective elements, such as

owner’s intent, by permitting consideration only of objective evidence of a waterborne

transportation purpose.” Id. If an owner’s intent was dispositive on the issue of vessel status,

nothing more than the submission of an affidavit declaring the structure would never navigate

again would be needed to settle the issue.

       Importantly, post-Lozman decisions also recognize that the ruling in Lozman “reflects the

Supreme Court’s rejection of the ‘anything that floats’ approach,” such as a the tub carrying three

men in the nursery rhyme. Warrior Energy Servs. Corp. v. ATP Titan, 941 F. Supp. 2d 699, 706

(E.D. La. 2013). In other words, Lozman “shot across the bow” of prior decisions attributing vessel

status to various exotic, atypical structures – similar to a floating home. Mooney v. W & T Offshore,

No. 12-969, 2013 U.S. Dist. LEXIS 30091, 2013 WL 828308, at *4 (E.D. La. March 6, 2013).

However, it did not intend an effect of disrupting established law attributing vessel status to

structures like the AMOS RUNNER.

III.   The AMOS RUNNER is a vessel under General Maritime Law.

       This is not a “borderline” case. A straightforward application of Stewart mandates a finding

that the AMOS RUNNER is a vessel under General Maritime Law. And, a finding of vessel status



                                                 7
Case 1:19-cv-00468-CG-B Document 27 Filed 10/24/19 Page 8 of 14                     PageID #: 151




is unaltered by Lozman. The courts have consistently treated semi-submersible drilling rigs like

the AMOS RUNNER as vessels in navigation. As one federal district court noted, “[l]ongstanding

precedent in [the Fifth Circuit] establishes that mobile offshore drilling units [not permanently

attached to the seabed] are vessels under general maritime law.” See BW Offshore USA, LLC v.

TVT Offshore AS, 145 F. Supp. 3d 658, 662 (E.D. La. 2015); In re Oil Spill by the Oil Rig

Deepwater Horizon in the Gulf of Mexico, on Apr. 20, 2010, 808 F. Supp. 2d 943, 949 (E.D. La.

2011) aff'd sub nom. In re DEEPWATER HORIZON, 745 F.3d 157 (5th Cir. 2014).

       The AMOS RUNNER is unequivocally a “vessel” under general maritime law’s definition

of that term, being that it is a conventional waterborne structure that has remained practically

capable of being used as a means of transportation over navigable waters. Stewart, 543 U.S. at

497. In fact, this is exactly what the AMOS RUNNER did in the context of the current proceeding

before this Court. The subjective intent of scrapping the AMOS RUNNER sometime in the future

does not change the objective realization that the AMOS RUNNER was and is capable of

transportation. It was towed 450 nautical-miles to EPIC’s shipyard in Mobile, Alabama, with a

riding crew onboard for the entirety of the tow. It is currently being marketed for sale to buyers

outside of the United States, which necessarily requires that it be capable of towage on water and

navigated as a condition of purchase. There is no limitation being marketed to such buyers

indicating that the AMOS RUNNER could not be navigated to foreign ports in order to facilitate

a sale. The rig is not currently in the process of being scrapped. As evidenced by the recent tow to

Mobile, the AMOS RUNNER has not been so impaired, nor has its design been so converted, as

to result in rendering it practically incapable of navigation as a “vessel.”

       1.      Cases cited by EPIC do not support a finding of no vessel status in this matter.

       Despite the AMOS RUNNER’s status as a MODU, which has been traditionally considered



                                                  8
Case 1:19-cv-00468-CG-B Document 27 Filed 10/24/19 Page 9 of 14                    PageID #: 152




a vessel, EPIC’s motion relies on Fifth Circuit “borderline” vessel cases. The first case EPIC

points to is Martin v. Fab-Con, Inc., 9 F. Supp. 3d 642 (E.D. La. 2014). The issue in that case was

whether a quarterbarge constituted a vessel under general maritime law. As the court noted,

objective evidence in the record showed that the structure “was constructed to serve solely as

stationary housing accommodations.” Id. at 644. It was “not designed to transport passengers,

cargo, or equipment across the water, and it was never used in such a way.” Id. The quarterbarge

simply was not designed for maritime transportation; “[i]nstead, it was designed exclusively to

house workers, serving…as a floating hotel.” Id. at 649. The Court found that a reasonable

observer, looking at the quarterbarge’s physical characteristics, would not consider it designed to

a practical degree for transportation over water.

       Unlike the quarterbarge, and as courts have consistently held, MODUs are inherently

designed for mobility, purposefully constructed with necessary capabilities enabling oceangoing

movement. More specifically, the AMOS RUNNER is clearly designed for transportation over

water, and its design has not been impaired such that a reasonable observer under Lozman would

conclude the rig lacks vessel status. To the contrary, a reasonable observer, looking at the rig’s

physical characteristics and design, would undoubtedly consider it designed for maritime

transportation.

       Another Fifth Circuit case EPIC relies on is Baker v. Director, Office of Workers’

Compensation Programs, 834 F.3d 542 (5th Cir. 2016). In that case, the issue was whether the Big

Foot, a tension leg offshore platform, was a vessel. It was noted at the outset that the parties

conceded the Big Foot was not built to regularly transport goods or people. 834 F.3d at 544. Its

various components were constructed at several locations. After full assembly, it would be towed

approximately two hundred miles offshore and anchored to the seabed where it would be used as



                                                    9
Case 1:19-cv-00468-CG-B Document 27 Filed 10/24/19 Page 10 of 14                        PageID #: 153




 a work platform. Notably, once moved offshore, it was estimated that Big Foot would remain

 attached to the seabed and thus not move for at least twenty years. Because Big Foot was

 constructed for stationary purposes, lacking inherent mobility features necessary for movement

 over water, the Fifth Circuit held that a reasonable observer would not consider it designed to a

 practical degree for transportation. For alike reasons that distinguish the AMOS RUNNER from

 the quarterbarge, the same clearly apply regarding the tension leg platform.

        Not only was the AMOS RUNNER, at all times, capable of maritime transportation, it was

 actually used for such, including the time at which it embarked across the Gulf of Mexico to

 Mobile. See The Alabama, 19 F. 544, 546 (S.D. Ala. 1884) (vessels possess mobility and capacity

 to navigate, unlike fixed structures like wharves, drydocks, and bridges). A fundamental notion in

 the succession of vessel status cases is that a marine structure, designed for seagoing movement,

 cannot maneuver across the sea with no law to govern it. To detach admiralty jurisdiction under

 such circumstances would cause havoc and undermine maritime law’s overwhelming goals of

 uniformity, harmony, and consistency. Both the quarterbarge and the Big Foot referenced above

 lacked the mobility and capabilities of maritime navigation such that a reasonable observer would

 not consider either practically designed for maritime transportation. These are critical points of

 distinction vis-à-vis the AMOS RUNNER.

        Additionally, as one federal district court from the Fifth Circuit found in determining vessel

 status, it is legally insignificant and unpersuasive that a structure has not moved for multiple years;

 such an argument ignores an overarching focus of the inquiry, which is capability of navigation.

 BW Offshore USA, LLC v. TVT Offshore AS, 145 F. Supp. 3d 658, 663-64 (E.D. La. 2015)

 (rejecting the argument against vessel status based on the fact that a production facility had not

 moved for four years). Admiralty courts have consistently ruled that a structure does not lose vessel



                                                   10
Case 1:19-cv-00468-CG-B Document 27 Filed 10/24/19 Page 11 of 14                        PageID #: 154




 status, or otherwise go in and out of admiralty jurisdiction, merely because it is not in transit for a

 snapshot in time. Id. Practical capability is key. To hold otherwise would erode the logic of

 maritime law on vessel status, such as that provided for in Stewart.

        As outlined by the Supreme Court in Stewart, the AMOS RUNNER’S status as a “vessel”

 under General Maritime Law must turn on whether it is “practically capable of maritime

 transportation, regardless of its primary purpose or state of transit at a particular moment.” 543

 U.S. at 497. The AMOS RUNNER is clearly a vessel under Stewart. Like an ordinary MODU, the

 rig was stacked offshore, not moored or otherwise attached to the seabed in a permanent fashion.

 It is designed to be transported from one location to another, either for drilling, shipyard work or

 lay up, by navigating as a waterborne floating vessel that is placed under towage. While briefly

 laid up in the Gulf of Mexico, the rig was found to be in good material condition and suitable for

 coastwide towage between berths. Its ballasting system was operational at all relevant times and

 remains operational. Further, Blake operated the system in order to refloat and allow it to be

 navigated on water. Nonetheless, EPIC ignores this typical semi-submersible configuration and

 bases its argument on future intentions, and not the practical capability of navigation.

        2.      The AMOS RUNNER was not “removed from navigation” nor was it a “dead
                ship,” as its practical capability as means for transportation was and has not
                been impaired.

        EPIC further suggests that even if the AMOS RUNNER was once a vessel, it had been

 removed from navigation and thus lost vessel status. Justice Thomas noted, “structures may lose

 their character as vessels if they have been withdrawn from the water for extended periods of time”

 such that they are no longer practically capable of being used as a means of transportation on water.

 Stewart, 543 U.S. at 496.

        EPIC presents this argument by portraying the AMOS RUNNER as a derelict structure



                                                   11
Case 1:19-cv-00468-CG-B Document 27 Filed 10/24/19 Page 12 of 14                           PageID #: 155




 solely fit for scrapping. This simply is not dispositive to the issue at hand. Admiralty courts reject

 these arguments as “unavailing and irrelevant.” La. Int'l Marine, L.L.C. v. Drilling Rig Atlas

 Century, 2012 U.S. Dist. LEXIS 40781, at *17 (S.D. Tex. Mar. 9, 2012) (“Even if the rig was a

 floating hulk solely fit for the scrapyard, dilapidated structures are not disqualified from being

 vessels as a matter of law”). Contrary to EPIC’s position, “a somewhat minimal showing of

 buoyancy and mobility may permit vessel classification.” Id.; see also Advance Welding Co. v.

 M/V Corra D, 299 F. Supp. 736, 736, 738 (E.D. La. 1969) (vessel which caught fire and burned at

 sea in accident and declared a “total loss” by underwriters did not lose vessel status because “the

 hull, ribbing and keel…remained intact after the fire” and “was capable of navigation while under

 tow”); Colonna’s Shipyard, Inc. v. U.S.A.F. Gen. Hoyt S. Vandenberg, 584 F. Supp. 2d 863, 867

 (E.D. Va. 2008) (obsolete steamship remained idle for years prior to being prepared for sinking

 and transformation to artificial reef remained a vessel because repairs were commenced to allow

 the steamship to be “towed on water”). “It is therefore of no moment that [a rig] would presently

 be unable to serve in any economically viable capacity pending refitting and restoration.” La. Int’l

 Marine, L.L.C., 2012 U.S. Dist. LEXIS, at *20.

         Again, the key is whether the structure is practically capable of navigation. This is true test

 “in all cases.” Stewart, 543 U.S. at 496. It has been explicitly recognized, in light of Stewart, cases

 such as Roper v. United States, 368 U.S. 20 (1961) (cited by EPIC) “must now be read in light of

 Stewart's clarification that the true test for vessel status in all cases is whether a ship is practically

 capable of maritime transportation,” and “not whether it is ‘in navigation’ or whether its ‘primary

 purpose’ is to transport goods or people on water.” Colonna's Shipyard, 584 F. Supp. at 874 n.14.




                                                    12
Case 1:19-cv-00468-CG-B Document 27 Filed 10/24/19 Page 13 of 14                       PageID #: 156




        3.      A finding that the AMOS RUNNER was not a vessel under the present
                circumstances would compromise the purposes of admiralty jurisdiction.

        “The fundamental interest giving rise to maritime jurisdiction is the protection of maritime

 commerce.” Exxon Corp. v. Cent. Gulf Lines, Inc., 500 U.S. 603, 608, 111 S.Ct. 2071, 2074-75,

 114 L.Ed.2d 649, 656 (1991). What EPIC proposes is wholly inconsistent with that interest. As

 previously stated, the AMOS RUNNER simply cannot be towed to sea with no law to govern it.

 The current economic state of the market upon which she relies for demand of her service cannot

 dictate her status as a “vessel,” just as the same cannot divest an admiralty court from exercising

 its jurisdiction. More specifically, a vessel does not cease to be a vessel merely because she is

 stacked or anchored offshore, while at the same time maintaining her practical capabilities of

 transiting the sea. See Chandris, Inc. v. Latsis, 515 U.S. 347, 373, 115 S.Ct. 2172, 2192, 132

 L.Ed.2d 314, 341 (1995). The mobile and transient characteristics of the AMOS RUNNER,

 including its operational deballasting system, are clearly indicated by its oceangoing tow to

 Mobile, Alabama. Moreover, it is currently being marketed to foreign buyers, transactions which

 would necessarily require it to move on water yet again. Unsurprisingly then, the AMOS

 RUNNER remains operationally capable of being deballasted, refloated and moved from location

 to location just as it has been for more than two decades in the oil field service. This is more than

 enough to retain vessel status.

 IV.    CONCLUSION

        For the foregoing reasons, the AMOS RUNNER is a vessel under general maritime law

 and this Court has admiralty jurisdiction over this matter. Accordingly, EPIC’s Motion to Dismiss

 Arrest must be denied.




                                                  13
Case 1:19-cv-00468-CG-B Document 27 Filed 10/24/19 Page 14 of 14                   PageID #: 157




                                             /s/ Norman M. Stockman
                                             NORMAN M. STOCKMAN
                                             BLANE H. CRUTCHFIELD
                                             Attorney for Plaintiff Blake Marine Group, LLC

 OF COUNSEL:

 HAND ARENDALL HARRISON SALE LLC
 Post Office Box 123
 Mobile, Alabama 36601
 Tel: (251) 432-5511
 Fax: (251) 694-6375
 Email: nstockman@handfirm.com
        bcrutchfield@handfirm.com


                                CERTIFICATE OF SERVICE
         I hereby certify that on October 24, 2019, the foregoing document was filed with the
 Clerk of the Court using the CM/ECF filing system which will send notification of such filing to
 the following:
 Grady S. Hurley, Esq.
 Jennifer David, Esq.
 Jones Walker LLP
 201 St. Charles Avenue
 New Orleans, LA 70170
 ghurley@joneswalker.com
 jdavid@joneswalker.com

 James Rebarchak, Esq.
 Jones Walker LLP
 11 N. Water St., Suite 1200
 Mobile, AL 36602
 jrebarchak@joneswalker.com


                                             /s/ Norman M. Stockman
                                             NORMAN M. STOCKMAN


 3769617_1.docx




                                                14
